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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 JOSEPH RUFO,                               )
                                            )
                Plaintiff,                  )
                       v.                   )       No. 1:18cv00037 (LMB/MSN)
                                            )
 ACLARA TECHNOLOGIES, LLC,                  )
                                            )
               Defendant.                   )

                                        JUDGMENT

        Pursuant to the unanimous jury verdicts entered on November 2, 2018, and in accordance

 with Rule 58, Fed.R.Civ.P., JUDGMENT is hereby entered in favor of the plaintiff Joseph Rufo

 and against the defendant Aclara Technologies, LLC in the total amount of $735,000.00,

 consisting of $335,000.00 in compensatory damages and $400,000.00 in punitive damages.




                                             FERNANDO GALINDO, CLERK

                                            By:________/s/_________________
                                               Y. Guyton, Deputy Clerk




 Dated: 11/02/2018
 Alexandria, Virginia
